    Case 2:10-bk-19866-PC Doc 27 Filed 01/20/11 Entered 01/20/11 14:13:00                               Desc BK
                        Closed Chap 7 (Discharged) Page 1 of 1
                  UNITED STATES BANKRUPTCY COURT
                                    Central District Of California
Debtor(s) Name:                                             For Court Use Only
                                                                                      FILED

Makini D'hati Barnes
                                                                                 January 20, 2011


                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                BY CJS DEPUTY CLERK


Chapter: 7

Case Number: 2:10−bk−19866−PC                                    ORDER CLOSING CASE


Order of Discharge in the above referenced case was entered on 1/5/11, and notice was provided to parties in interest.
Since it appears that no further matters are required that this case remain open, or that the jurisdiction of this Court
continue, it is ordered that the Trustee is discharged from his/her duties in this case, his/her bond is exonerated, and
the case is closed.




Dated: 1/20/11                                                       By Order of the United States Bankruptcy Court


                                                                     Kathleen J. Campbell
                                                                     Clerk of Court




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